Case 2:24-cv-00720-GMN-EJY Document1 Filed 04/15/24 Page 1 of 2

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

UNITED STATES DISTRICT COURT

for the
Exbnna l/h lesman

District of New 7*
Plaintiff/Petitioner

Conther Arles

Defendant/Respondent

2:24-cv-00720-GMN-EJY

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APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

In support of this application, I answer the following questions under penalty of perjury:

1. [fincarcerated. | am being held at:
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was

incarcerated during the last six months.

2. If not incarcerated. If 1am employed, my employer’s name and address are:

My gross pay or wages are: $ DZ , and my take-home pay or wages are: $ 2 per

(specifv pay period)

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes Ze No
(b) Rent payments, interest, or dividends O Yes fp No
(c) Pension, annuity, or life insurance payments O Yes JA No
(d) Disability, or worker’s compensation payments PY Yes No
(e) Gifts, or inheritances O Yes No
(f) Any other sources O Yes | No

If you answered ‘‘Yes”’ to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.

__ FILED ___ RECEIVED |
____ ENTERED SERVED ON
COUNSELIPARTIES OF RECORD

APR 12 2024

CLERK US DISTRICT COURT
DISTRICT OF NEVADA

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4. Amount of money that I have in cash or in a checking or savings account: $ ZZ

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value): = per mow lly Ws a le ane! 1S
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6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense): 7 5 aed (
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7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support: Z. or Nia ywW\ CODMNEMN Onrry

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8. Any debts or financial obligations (describe the amounts owed and to whom thev are payable):

& &

Declaration: 1 declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims. [ ee

Date: + | [2 by oe ae Age

Applicant’s signature

Eni nna We bb 5 nan

He name

